                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


JIMMY HARRIS,
                    Plaintiff,

      v.                                               Case No. 14-CV-1002

CITY OF MILWAUKEE et al.,
               Defendants.


                                        ORDER

      On October 12, 2016, the court held a status conference. The parties agreed to

amend the schedule (ECF No. 39) as ordered below.

      IT IS ORDERED that:

      1.      The parties shall comply with Fed. R. Civ. P. 26(a)(1) concerning initial

disclosures on or before November 1, 2016.

      2.      The parties may join additional parties and amend pleadings without further

leave of the court through December 1, 2016.

      3.      a.    All requests for discovery on all claims shall be served by a date

sufficiently early so that all discovery in this case can be completed no later than

September 1, 2017.

              b.    Any discovery motions brought pursuant to Rules 26 through 37 of the

Federal Rules of Civil Procedure must comply with Civil L.R. 37, by including

      a written certification by the movant that, after the movant in good faith has
      conferred or attempted to confer with the person or party failing to make
      disclosure or discovery in an effort to obtain it without court action, the
      parties are unable to reach an accord. The statement must recite the date
      and time of the conference or conferences and the names of all parties
      participating in the conference or conferences.



           Case 2:14-cv-01002-LA Filed 10/12/16 Page 1 of 2 Document 51
                c.     All discovery motions and non-dispositive pretrial motions must be

filed pursuant to Civil L.R. 7(h), unless the court otherwise permits. The motion must not

exceed three pages in length. No separate memorandum may be filed with the motion,

and any supporting affidavit allowed by Civil L.R. 7(h) must not exceed two pages. An

opposing memorandum, which must not exceed three pages in length, may be filed

within seven days of service of the motion. The court will notify the parties of the date and

time for a hearing on the motion, if the court deems it necessary.

        4.      a.     Any dispositive motions must be served and filed on or before

October 1, 2017.

                b.     All summary judgment motions and briefing thereon must comply with

Civil L.R. 7 and 56(b). Any summary judgment motion filed against a pro se litigant must

comply with Civil L.R. 56(a).

        5.      The court expects counsel to confer and make a good faith effort to settle the

case.

        The foregoing schedule shall not be modified except upon a showing of good cause

and by leave of the court.

        SO ORDERED at Milwaukee, Wisconsin, this 12th day of October 2016.


                                     s/ Lynn Adelman
                                     __________________________________
                                     LYNN ADELMAN
                                     District Judge




                                               2



             Case 2:14-cv-01002-LA Filed 10/12/16 Page 2 of 2 Document 51
